          Case 2:11-cr-00210-DAD Document 502 Filed 04/10/15 Page 1 of 2


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 8                             IN THE UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                             Case No. 2:12-CR-0226 JAM & 2:11-cr-
                                                           00210-JAM-9
12                       Plaintiff,
                                                           STIPULATION AND [PROPOSED]
13   v.                                                    ORDER TO AMEND PRETRIAL
                                                           SERVICES CONDITIONS
14   Rachel Siders,
                                                           Court: Hon. Edmund F. Brennan
15                       Defendant.
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18            Defendant, Rachel Siders, through her counsel, and Plaintiff United States of America,
19   through Assistant United States Attorney Christiaan Highsmith, hereby stipulate and request that
20   the Court amend Siders’ pretrial services conditions as follows:
21            That a condition be added stating:
22
     You shall participate in a program of medical or psychiatric treatment, including treatment for
23   drug or alcohol dependency, as approved by the pretrial services officer. You shall pay all or part
     of the cost of the counseling services based upon your ability to pay, as determined by the pretrial
24   services officer.
25            Pretrial Services has requested that the parties file this stipulation and proposed order

26   amending the conditions.

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                          Amendment to Stipulation and Order re: Pretrial Services Conditions
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       Case 2:11-cr-00210-DAD Document 502 Filed 04/10/15 Page 2 of 2


 1   Dated: April 8, 2015
 2
                                                              By: /s/ Eduardo G. Roy
 3                                                               EDUARDO G. ROY
                                                                 Attorney for Defendant
 4                                                               Rachel Siders
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 6
     Dated: April 8, 2015                                     BENJAMIN WAGNER
 7                                                            United States Attorney
 8                                                            Christiaan Highsmith
                                                              Assistant United States Attorney
 9                                                            Attorney for Plaintiff
10                                                   ORDER
11   The Court adds the following condition to Siders’ pretrial release:
12   You shall participate in a program of medical or psychiatric treatment, including treatment for
     drug or alcohol dependency, as approved by the pretrial services officer. You shall pay all or part
13   of the costs of the counseling services based upon your ability to pay, as determined by the
     pretrial services officer.
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     IT IS SO ORDERED.
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     Dated: April 9, 2015
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                         Amendment to Stipulation and Order re: Pretrial Services Conditions
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